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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

SHERRY FRANKE, Individually
And as Special Administratrix of
THE ESTATE OF KENNETH FRANKE,
Deceased; and KALOB FRANKE                                                         PLAINTIFFS

vs.                                CASE NO.: 4:20-CV-1310-BRW

THE CITY OF LITTLE ROCK;
DEVON COLCLOUGH, Individually and
In her Official Capacity; KEITH HUMPHREY,
Individually and in His Official Capacity’
MAYOR FRANK SCOTT, JR., Individually
And in his Official Capacity;
THE MUNICIPAL LEAGUE VEHICLE
PROGRAM; and John Does 1-10                                                      DEFENDANTS

                      BRIEF IN SUPPORT OF CITY DEFENDANTS’
                        MOTION FOR SUMMARY JUDGMENT

       Separate Defendants, Devon Colclough (“Officer Colclough”) individually and in her

official capacity; Keith Humphrey (“Chief Humphrey”), individually and in his official capacity;

Mayor Frank Scot Jr., individually, and in his official capacity; and City of Little Rock, Arkansas

(“City”); collectively known as (“City Defendants”); respectfully come before this honorable

court, by and through their attorneys, Thomas M. Carpenter, City Attorney, and Alexander J.

Betton, Chief Deputy City Attorney, and for their Brief in Support of their Motion for Summary

Judgement state:

                                              Introduction:

       On August 19, 2019, Officer Colclough began her career as a Little Rock Police

Department (“LRPD”) officer by beginning rookie school at the LRPD training academy. (SUMF

1). She graduated in January of 2020, and for the next few month trained with several Field

Training Officers (“FTO”). (SUMF 7). In August of 2020, Officer Colclough was a Probationary

Police Officer (“PPO”) and her training reached the point where she no longer patrolled her sector

with an FTO.
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       In the late afternoon of August 21, 2020, Officer Colclough was working a traffic accident,

when she responded to a call from LRPD dispatch that there was a forgery in progress at the

Centennial Bank located at 9712 N. Rodney Parham Rd. (SUMF 18). Officer Colclough was the

first officer to arrive at the bank and was told by the bank teller that the suspects were in the drive

through. She knew through dispatch that they were in a black Chevrolet Malibu. She drove her

patrol vehicle to the drive thru and parked in front of the suspects at an angle. She activated her

emergency lights and the suspects reversed out of the drive thru stall and fled. (SUMF 19). The

Malibu exited the bank parking lot and turned left on to Satterfield Drive; it came to a stop at the

corner of Southedge Drive and Northwick Court and allowed the passenger to exit the vehicle; the

suspect vehicle turned left at the stop sign and headed north on Northwick Court. Northwick Court

came to a dead end at a cul-de-sac, and the Malibu traveled east on Northgate Drive. The Malibu

then turned south onto Reservoir Road. Officer Colclough followed the Malibu south on Reservoir

road, and the Malibu drove through the red traffic signal at Reservoir Road and N. Rodney Parham.

The Malibu traveled east on N. Rodney Parham and Officer Colclough maintained pursuit at a

distance. (SUMF 20)

       As Officer Colclough neared the intersection of Brookside and N. Rodney Parham Road

the Malibu crossed over into westbound traffic on N. Rodney Parham Road and had a head-on

collision with a Honda Accord driven by Kenneth Franke with Kalob Franke as a passenger. Once

the driver of the Malibu collided with Mr. Franke, Mr. Franke’s Honda Accord spun around and

the Malibu hit the Chevrolet Equinox driven by Joshua Via before rolling in a grassy area. (SUMF

20). The driver of the Malibu was identified as Timothy Dockery Jr. (“Mr. Dockery”). (SUMF

22). At the time Mr. Dockery’s Malibu collided with Mr. Franke’s Accord Mr. Dockery was

travelling at 69.6 miles per hour; his brakes were not engaged, but he’d taken his foot off of the

accelerator five (5) seconds prior. (SUMF 21). Mr. Dockery died at the scene of the accident due


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to the injuries he sustained in the head on collision, and MR. Franke died sometime thereafter.

Kalob Franke was severely injured. (SUMF 22)

       The LRPD policy that governs pursuits is General Order (“G.O.”) 302. (SUMF 8).

Pursuant to subsection 14 of G.O. 302, (a) “a formal review of all pursuits will be conducted by

the officer’s Chain of Command and the Training Division. (b) The purpose of the review is to

determine if: (1) The pursuit was necessary and within Departmental Policy; (2) There are training

needs to be considered; and (3) Any policy changes need to be considered. (SUMF 23). This

pursuit was reviewed by Officer Colclough’s chain of command. Sgt. Allison Walton found that

“the pursuit lasted for two minutes and twelve seconds, and travelled a distance of 1.3

miles…Probationary Police Officer Devon Colclough was not negligent in the accident…The

suspect vehicle was over 100 yards ahead of PPO Colclough…Her presence did not push the driver

of the suspect vehicle to cross into incoming traffic causing a collision.” Sgt. Walton noted that it

was PPO Colclough’s first pursuit and became a “teaching moment,” she found PPO Colclough to

be in compliance with G.O. 302 and suggested she be exonerated. Lt. James Wheeler also noted

that it was Officer Colclough’s first pursuit, but that it was “reasonable and within department

policy.” Lt. Wheeler noted that it was an opportunity to further train Officer Colclough, and he

exonerated her of a violation of G.O. 302. Captain Miller concurred with Sgt. Walton and Lt.

Wheeler, and noted that there were some training points that came to light, but that he felt that they

“did not rise to the level of a policy violation. Assistant Chief Haskins and Chief Humphrey

concurred. (SUMF 24). As such, and being that this was Officer Colclough’s first independent

pursuit as an LRPD officer, the LRPD went over the video of the August 21, 2020, pursuit with

her, and discussed the pursuit in relation to G.O. 302 and its requisite subsections. (SUMF 25, 26).

       In November of 2020, Sherry Franke, as the Special Administrtrix of the Estate of Kenneth

Franke, Deceased; and Kalob Franke (“Franke”) filed suit against the City of Little Rock; Officer

Colclough (Individually and Officially); Chief Humphrey (individually and officially); and Mayor
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Scott (individually and officially). Franke brings four main counts against the City Defendants.

Count one (1) is a civil rights claim under 42 U.S.C. § 1983, it claims that “Kenneth and Kalob

Franke were entitled to equal protection of the laws and to the privileges and immunities of a

citizen under the Fourteenth Amendment.1” This Count hints that the 2017 and 2020 versions of

G.O. 302 were/are unconstitutional,2 and it affirmatively asserts a failure to train allegation against

the City Defendants3. A pattern and practice allegation is not formally plead in this count however

paragraph 64 comes close enough to pleading it that the City Defendants will treat it as plead.

        Count II pleads allegations under the Arkansas Civil Rights Act (“ACRA”). Under this

count Franke pleads violations of various provisions of the Arkansas Constitution. She pleads

alleged violations of: equal protection (Article 2 § 3); due process of law (Article 2 § 8); cruel and

unusual punishment (Article 2 § 9); punishment without trial (Article 2 § 10); and unreasonable

search and seizure (Article 2 § 15). Count III is a state law claim for negligence claiming liability

under the doctrine of respondeat superior. Finally Count IV is also a state law tort claim for

Outrage under the doctrine of respondeat superior. This brief will first address qualified immunity

in respect to the individual claims against Officer Colclough, Chief Humphrey and Mayor Scott,

and municipal liability and the state law claims thereafter.

        The City Defendants respectfully submit that there are no genuine issues with respect to

any material facts in this case and that they are entitled to summary judgment as to all of Plaintiff’s

claims pursuant to Fed. R. Civ. P. 56.




1
  Compl. ¶ 61
2
  Compl. ¶ 68-70
3
  Compl. ¶ 71
                                                  -4-
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                                           II. Argument

       A.      Summary Judgment Standard

       Summary judgment is proper “if the pleadings, depositions, answers to interrogatories, and

admissions on file, together with the affidavits, if any, show that there is no genuine issue as to

any material fact and that the moving party is entitled to judgment as a matter of law.” Moyle v.

Anderson, 571 F.3d 814, 817 (8th Cir. 2009). Plaintiff may not rely solely on the allegations in

his pleadings. He must set out specific facts showing a genuine issue for trial. Fowler v. Crawford,

534 F.3d 931, 940 (8th Cir. 2008).

       Although a district court must rule on a motion for summary judgment after viewing the

facts in the light most favorable to the non-moving party, it is not required to “accept unreasonable

inferences or sheer speculation as fact.” Howard v. Columbia Pub. Sch. Dist., 363 F.3d 797, 800

(8th Cir. 2004). Plaintiff must produce probative evidence sufficient to demonstrate a genuine

issue for trial. Davenport v. Univ. of Ark. Bd. of Trustees, 553 F.3d 1110, 1113 (8th Cir. 2009).

       B.      Qualified Immunity

       Officer Colclough and Chief Humphrey are sued in their individual capacities, and with

respect to those claims, qualified immunity shields law enforcement officers from liability for civil

damages where “their conduct does not violate clearly established statutory or constitutional rights

of which a reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982);

LaCross v. City of Duluth, 713 F.3d 1155, 1157 (8th Cir. 2013); Joseph v. Allen, 712 F.3d 1222,

1226 (8th Cir. 2013). This “clearly established” standard protects the balance between vindication

of constitutional rights and government officials' effective performance of their duties by ensuring

that officials can “‘reasonably ... anticipate when their conduct may give rise to liability for

damages.’” Reichle v. Howards, 132 S.Ct. 2088, 2093 (2012) (citing Anderson v. Creighton, 483

U.S. 635, 639 (1987)). Under this objective legal reasonableness standard, courts may not delve

into the officers’ subjective motivations for their actions. Allen, 712 F.3d at 1226. Qualified
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immunity allows officers to make reasonable errors and protects all but the plainly incompetent or

those who knowingly violate the law. Id.

       A court engaged in a qualified immunity inquiry uses a two-step process. LaCross at 1157-

58. The questions are whether the facts shown by the plaintiff make out a violation of a

constitutional or statutory right and whether that right was clearly established at the time of the

defendant’s alleged misconduct. Id. The Court has the discretion to decide which question should

be addressed first. Pearson v. Callahan, 555 U.S. 223, 236 (2009).

       Defendants submit that the Court, in making a decision on qualified immunity on this

claim, should first address whether a constitutional violation occurred before moving to the

question of whether the constitutional right was clearly established. Thus, in the qualified

immunity analysis of this claim, the initial inquiry is whether the pursuit amounted to a

Fourthteenth Amendment violation. In making that determination, the Court must examine

whether Officer Colclough and Chief Humphrey’s actions were objectively reasonable in light of

the facts and circumstances confronting him without regard to his underlying intent or motivation.

Nance v. Sammis, 586 F.3d 604, 610 (8th Cir. 2009). Officer Colclough and Chief Humphrey are

entitled to qualified immunity because the facts viewed in a light most favorable to the Franke do

not yield a constitutional violation. Further, they did not violate clearly established law.

       i.      Officer Colclough

       Franke cannot make a prima facie case of a 14th amendment due process allegation against

Officer Colclough because Officer Colclough’s vehicle did not collide with Kenneth Franke’s

vehicle at 69.6 miles per hour. Mr. Dockery’s Malibu did, and he did so in a private capacity. In

order for liability to attach to Officer Colclough Mr. Dockery would have to be a governmental

actor. It is undisputed that he was a suspected felon. He was fleeing from the custody of Officer

Colclough, so it is clear that he was not acting as an agent of the government for purposes of the

Fourteenth Amendment. “Section 1983 secures most constitutional rights from infringement by
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governments, not private parties.” Crumpley-Patterson v. Trinity Lutheran Hosp., 388 F.3d 588,

590 (8th Cir. 2004). Mr. Dockery’s act of fleeing from the custody of Officer Colclough and the

LRPD was a private act. “[P]rivate conduct, no matter how egregious, discriminatory, or harmful,

is beyond the reach of § 1983.” Wickersham v. City of Columbia, 481 F.3d 591, 597 (8th Cir.

2007).

         Officer Colclough’s actions on August 21, 2020, did not affected Kenneth and Kalob

Franke, the contemporaneous evidence in this case, City Defendant’s Exhibit G shows that Mr.

Dockery was significantly ahead of Officer Colclough when the collision happened.                  The

undisputed facts show that he was traveling a 69.6 miles per hour and never attempted to brake.

Those egregious actions took the life of Kenneth Franke and seriously injured Kalob Franke,

however, those actions were not coerced, significantly encouraged (overtly or covertly),

controlled, delegated to, or entwined with Officer Colclough’s pursuit. Brentwood Acad. v.

Tennessee Secondary Sch. Athletic Ass'n, 531 U.S. 288, 296 (2001). Mr. Dockery independently

and privately made the decision to flee the custody of Officer Colclough, and the fault and liability

for the horrible results of that private decision are Mr. Dockery’s alone.

         Officer Colclough did not violate Kenneth and Kalob’s 14 th amendment rights when she

pursued Mr. Dockery. There is, therefore, no need to address the second step of the two-step

qualified immunity analysis of whether there was a clearly established right. However, even if a

violation of a constitutional right occurred, a point that Officer Colclough does not concede, she

is entitled to qualified immunity because the right was not clearly established under the

circumstances

         “Fr a right to be clearly established, its contours must be “sufficiently definite that
         any reasonable official in the defendant’s shoes would have understood that he was
         violating it.” Kisela v. Hughes, ––– U.S. ––––, 138 S.Ct. 1148, 1153, 200 L.Ed.2d
         449 (2018) (per curiam), quoting Plumhoff v. Rickard, 572 U.S. 765, 778–79, 134
         S.Ct. 2012, 188 L.Ed.2d 1056 (2014). Failing to “identify a case where an officer
         acting under similar circumstances ... was held to have violated the Fourth
         Amendment” is often fatal to a claim outside of obvious cases. White v. Pauly, ––
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       – U.S. ––––, 137 S.Ct. 548, 552, 196 L.Ed.2d 463 (2017) (per
       curiam). See id., citing United States v. Lanier, 520 U.S. 259, 271, 117 S.Ct. 1219,
       137 L.Ed.2d 432 (1997) (explaining a “general constitutional rule” can give fair
       warning where it applies “with obvious clarity to the specific conduct in question”).
       A case need not be “directly on point, but existing precedent must have placed the
       statutory or constitutional question beyond debate.” Mullenix v. Luna, ––– U.S. ––
       ––, 136 S.Ct. 305, 308, 193 L.Ed.2d 255 (2015) (per curiam), quoting Ashcroft v.
       al-Kidd, 563 U.S. 731, 742, 131 S.Ct. 2074, 179 L.Ed.2d 1149 (2011). Moore-
       Jones v. Quick, 909 F.3d 983, 985 (8th Cir. 2018)

       The United States Supreme Court has undertaken the question of whether or not liability

can be attached to a Police officer based on a vehicular pursuit. However, unlike in Officer

Colclough’s case, the officer struck the decedent instead of a private individual. In County of

Sacramento, et al. v. Teri Lewis and Thomas Lewis, personal representative of the Estate of Philip

Lewis, 523 U.S. 833 (1999), the United States Supreme Court held, “that high-speed chases with

no intent to harm suspects physically or to worsen their legal plight do not give rise to liability

under the Fourteenth Amendment, redressible by an action under § 1983.”

       The facts of the aforementioned case were that an officer was responding to a call of a fight

in progress, and when he arrived he saw a motor cycle approaching him at a high rate of speed.

The officer turned on his blue lights and yelled for the motorcycle to stop, but the driver of the

motor cycle maneuvered the bike between the police cars and kept going. The officer turned on

his emergency lights and pursued the motorcycle through a residential neighborhood at speeds

reaching 100 miles per hour. The chase lasted seventy-five seconds and 1.3 miles with the

motorcycle weaving in and out of oncoming traffic. The officer followed at a distance of 100 feet.

The pursuit ended with the motorcycle tipping over when the driver tried to make a sharp left turn.

The officer slammed on his brakes and the driver of the motorcycle was able to make it out of the

way but the passenger was struck by the officer and propelled 70 feet away and was pronounced

dead on the scene. Id. at 836, 837.

       The Plaintiff’s in the above-styled case, like Franke, brought an action against the officer

pursuant to 42 U.S.C. § 1983, under the Fourteenth Amendment for a deprivation of the decedent’s
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substantive due process to the right to life. Like Franke, the Plaintiff relied heavily on their belief

that the officer violated departmental policy. 4 The Court framed the issue saying:

         We have emphasized time and again that “[t]he touchstone of due process is
         protection of the individual against arbitrary action of government,” Wolff v.
         McDonnell, 418 U.S. 539, 558, 94 S.Ct. 2963, 2976, 41 L.Ed.2d 935 (1974),
         whether the fault lies in a denial of fundamental *846 procedural fairness,
         see, e.g., Fuentes v. Shevin, 407 U.S. 67, 82, 92 S.Ct. 1983, 1995, 32 L.Ed.2d 556
         (1972) (the procedural due process guarantee protects against “arbitrary takings”),
         or in the exercise of power without any reasonable justification in the service of a
         legitimate governmental objective, see, e.g., Daniels v. Williams, 474 U.S., at 331,
         106 S.Ct., at 664 (the substantive due process guarantee protects against
         government power arbitrarily and oppressively exercised). While due process
         protection in the substantive sense limits what the government may do in both its
         legislative, see, e.g., Griswold v. Connecticut, 381 U.S. 479, 85 S.Ct. 1678, 14
         L.Ed.2d 510 (1965), and its executive capacities, see, e.g., Rochin v.
         California, 342 U.S. 165, 72 S.Ct. 205, 96 L.Ed. 183 (1952), criteria to identify
         what is fatally arbitrary differ depending on whether it is legislation or a specific
         act of a governmental officer that is at issue. Id. at 845–46

         The Court analyzed cases dealing with allegations of abusive executive action noting that,

“in Collins v. Harker Heights, for example, we said that the Due Process Clause was intended to

prevent government officials “ ‘ “from abusing [their] power, or employing it as an instrument of

oppression.” ’ ” 503 U.S., at 126, 112 S.Ct., at 1069 (quoting DeShaney v. Winnebago County

Dept. of Social Servs., 489 U.S., at 196, 109 S.Ct., at 1003 (in turn quoting Davidson v.

Cannon, 474 U.S., at 348, 106 S.Ct., at 670–671).

         The court found one example of such an abuse in Rochin v. California, 342 U.S. 165

(1952). However that case involved the forced pumping of an individual’s stomach, and that act

offended the suspect’s due process and the Rochin court found that the acts “shocked the

conscious…and violated the decencies of civilized conduct5.” The County of Sacramento Court


4
  Id. at 838 see also Exhibit C pg. 49-52
5
  See, e.g., Breithaupt v. Abram, 352 U.S. 432, 435, 77 S.Ct. 408, 410, 1 L.Ed.2d 448 (1957) (reiterating that conduct
that “ ‘shocked the conscience’ and was so ‘brutal’ and ‘offensive’ that it did not comport with traditional ideas of fair
play and decency” would violate substantive due process); Whitley v. Albers, 475 U.S. 312, 327, 106 S.Ct. 1078, 1088,
89 L.Ed.2d 251 (1986) (same); United States v. Salerno, 481 U.S. 739, 746, 107 S.Ct. 2095, 2101, 95 L.Ed.2d 697
(1987) (“So-called ‘substantive due process' prevents the government from engaging in conduct that ‘shocks the
conscience,’ ... or interferes with rights ‘implicit in the concept of ordered liberty’ ”) (quoting Rochin v. California,
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reiterated that, “[i]n the intervening years we have repeatedly adhered to Rochin 's benchmark.”

Cty. of Sacramento v. Lewis, 523 U.S. 833, 846–47, (1998).

         The Court then turned its analysis toward police officers faced with pursuits. It noted that,

         “Like prison officials facing a riot, the police on an occasion calling for fast action
         have obligations that tend to tug against each other. Their duty is to restore and
         maintain lawful order, while not exacerbating disorder more than necessary to do
         their jobs. They are supposed to act decisively and to show restraint at the same
         moment, and their decisions have to be made “in haste, under pressure, and
         frequently without the luxury of a second chance.” Id., at 320, 106 S.Ct., at
         1084; cf. Graham v. Connor, 490 U.S., at 397, 109 S.Ct., at 1872 (“[P]olice officers
         are often forced to make split-second judgments—in circumstances that are tense,
         uncertain, and rapidly evolving”). A police officer deciding whether to give chase
         must balance on one hand the need to stop a suspect and show that flight from the
         law is no way to freedom, and, on the other, the high-speed threat to all those within
         stopping range, be they suspects, their passengers, other drivers, or bystanders. To
         recognize a substantive due process violation in these circumstances when only
         midlevel fault has been shown would be to forget that liability for deliberate
         indifference to inmate welfare rests upon the luxury enjoyed by prison officials of
         having time to make unhurried judgments, upon the chance for repeated reflection,
         largely uncomplicated by the pulls of competing obligations. When such extended
         opportunities to do better are teamed with protracted failure even to care,
         indifference is truly shocking. But when unforeseen circumstances demand an
         officer's instant judgment, even precipitate recklessness fails to inch close enough
         to harmful purpose to spark the shock that implicates “the large concerns of the
         governors and the governed.” Daniels v. Williams, 474 U.S., at 332, 106 S.Ct., at
         665. Id.at 853, 854.

         County of Sacramento, demonstrates that Officer Colclough is entitled to qualified

immunity because she did not violate clearly established law. In fact, it has been established law

since 1998, that a law enforcement officer engaged in a pursuit that ends in a fatality does not

violate the Fourteenth Amendment based on his/her split-second decision to engage in the pursuit.

         Officer Colclough is entitled to a Judgement as a matter of law. She is entitled to qualified

immunity because she did not violate Kenneth or Kalob Franke’s constitutional rights. If there is




supra, at 172, 72 S.Ct., at 209–210, and Palko v. Connecticut, 302 U.S. 319, 325–326, 58 S.Ct. 149, 151–152, 82
L.Ed. 288 (1937)). Most recently, in Collins v. Harker Heights, supra, at 128, 112 S.Ct., at 1070, Cty. of Sacramento
v. Lewis, 523 U.S. 833, 847, 118 S. Ct. 1708, 1717, 140 L. Ed. 2d 1043 (1998)


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precedent that places the constitutional question beyond debate, as seen in County of Sacramento,

that precedent is in Officer Colclough’s favor.

       ii.     Chief Humphrey

       Chief Humphrey is entitled to qualified immunity for the allegations made against him in

his individual capacity because the Plaintiff has failed to establish any constitutional claims against

him. It is undisputed that Chief Humphrey did not participate in the pursuit of Mr. Dockery either

as a pursuing officer or a supervisor. Considering the facts of this case in a light most favorable

to the Plaintiff, the only potentially viable allegations against Chief Humphrey would be his

concurrence with Officer Colclough’s chain of command that she did not violate G.O. 302, and

his amending G.O. 302 to add Ark Code Ann § 27-50-308, Reckless Driving.

       First, concurring with the chain of command is not demonstrative of a failure to train, nor

deliberate indifference to unconstitutional misconduct. The undisputed facts show that the pursuit

was Officer Colclough’s first independent pursuit as an LRPD officer and after investigating it her

chain of command recommended and administered additional training. (SUMF 25, 26) Franke’s

pattern and practice allegations and failure to train allegations cannot exist alongside that

undisputed material fact. Officer Colclough’s additional training is evidence of the LRPD further

engaging and its PPO on G.O. 302 through real life experience. It is the essence of hands on

training, and in order for Franke to show that Chief Humphrey was deliberately indifferent she

would need to show that he had knowledge of prior incidents of police misconduct and deliberately

failed to take remedial action. Parrish v. Luckie, 963 F.2d 201, 204 (8th Cir. 1992).

       C.      Municipal Liability

       In Paragraph 64 of the Complaint, Franke claims that the “Defendants directly or with

deliberate indifference, under color of law, approved and/or ratified the unlawful, deliberate,

malicious, reckless, and wanton conduct of officers. By failing to enact proper procedures to

discourage pursuits for non-violent property damage crimes, or, alternatively, by failing to
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terminate the pursuit when it was clear that the pursuit was being conducted in a violation of

policy.” This language seems to marry a pattern and practice claim and an unconstitutional policy

claim under Monell v. Dep't of Soc. Serv., 436 U.S. 658, 691 (1978). As such, the City Defendants

will address both.

           Pursuant to 42 U.S.C. §1983 any person acting under color of state law who subjects

another to the deprivation of constitutional rights shall be liable to the injured party. A local

government such as the City is considered a “person” subject to Section 1983 liability. Scheeler

v. City of St. Cloud, Minn., 402 F.3d 826, 832 (8th Cir. 2005). “A plaintiff may establish municipal

liability under § 1983 by proving that his or her constitutional rights were violated by an ‘action

pursuant to official municipal policy’ or misconduct so pervasive among non-policymaking

employees of the municipality ‘as to constitute a custom or usage with the force of law.’ ” Ware

v. Jackson County, 150 F.3d 873, 880 (8th Cir.1998) (quoting Monell v. Dep't of Soc. Serv., 436

U.S. 658, 691 (1978)).

           In order for Franke to prove that G.O. 302 is an unconstitutional policy she must show that

it is in violation of federal law. Brossart v. Janke, 859 F.3d 616, 627 (8th Cir. 2017). Plaintiff’s

primary claim concerning G.O. 302, is that the 2016 version that authorized pursuits only if the

“suspect has committed or is about to commit a felony which involves the use or threat of physical

force or violence against any individual” yielded fewer pursuits and fewer car accidents than the

2017 and 2020 versions6. Plaintiff’s allegation is a policy complaint and not a constitutional

violation. It is not a violation of federal law for a municipality to allow its police officers to pursue

a suspect suspected of committing a felony, violent or non-violent. It certainly is not a violation

of federal law for a municipality to allow its police officers to pursue individuals who recklessly

drive and drag race in an officer’s presence. Franke cannot show that any of the versions of G.O.



6
    See Ex. C pg. 28, ln. 7-16; pg. 29, ln. 8-11; pg. 37 ln. 20-25; pg. 38. Ln. 1-11
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302 violate federal law, so in order to establish liability on behalf of the City of Little Rock she

must show a pattern and practice of deliberate indifference to unconstitutional misconduct by the

City’s policy makers.

        To prove that a custom exists, a plaintiff must prove (1) the existence of a continuing,

widespread pattern of unconstitutional misconduct by employees; (2) deliberate indifference to or

tacit authorization of such misconduct by the governmental entity’s policymaking officials after

notice to the officials of the misconduct; and (3) the custom was the moving force behind the

constitutional violation. Mettler v. Whitledge, 165 F.3d 1197, 1204 (8th Cir. 1999). The prior

pattern of unconstitutional conduct “must be so persistent and widespread so as to have the force

and effect of law” and the pattern must have caused the plaintiff’s alleged injury. Rogers v. City of

Little Rock, 152 F.3d 790, 799 (8th Cir. 1998); Andrews v. Fowler, 98 F.3d 1069, 1075 (8th Cir.

1996). Plaintiff must further show that City officials had knowledge of prior incidents of police

misconduct and deliberately failed to take remedial action. Parrish v. Luckie, 963 F.2d 201, 204

(8th Cir. 1992).

        i.      Pattern and Notice.

        As previously stated in order for Franke to establish municipal liability she must first show

the existence of a continuing, widespread pattern of unconstitutional misconduct by LRPD

officers. She cannot because she cannot show that any version of G.O. 302 was a violation of

federal law. All that she can show is that if a municipality restricts that amount of offenses that its

police officers can pursue suspects behind it will yield fewer pursuits and fewer accidents. That

is not a constitutional issue, it is a policy issue.

        ii.     Deliberate Indifference.

        In addition to showing a “pattern of unconstitutional acts” by LRPD officers, Franke must

show that Chief Humphrey and the City were “deliberately indifferent” to the unconstitutional

misconduct. First, Plaintiff will not be able to show deliberate indifference because she cannot
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show a pattern of similar unconstitutional misconduct. However, in the event that she could show

a pattern, a point that the City and Chief Humphrey do not concede, the Supreme Court held in

Brown, “deliberate indifference is a stringent standard of fault, requiring proof that a municipal

actor disregarded a known or obvious consequence of his action.” Bd. Of Cty. Comm’rs of Bryan

Cty., Okl. V. Brown, 520 U.S. 397, 398 (1997). In essence she would have to show that Chief

Humphrey, the policymaker for the LRPD at the time of Kenneth Franke’s death and Kalob

Franke’s injury, was on notice of a pattern of unconstitutional misconduct and took no action to

curtail it.

           Plaintiff has only identified one other fatality due to a LRPD pursuit, and that occurred in

20157. While Chief Humphrey had heard about this fatality it occurred nearly four years before

his tenure began. As such, this is not even deliberate indifference to a bad policy decision. It is a

decision made by Chiefs of Police in the furtherance of fighting crime. Finally, the undisputed

facts show that the LRPD has not been deliberately indifferent to G.O. 302, it was amended three

times between March 9, 2016 and April 7, 2020.

           iii.     Failure to Train

           Count one of the Complaint alleges that “it was also the policy and custom of the City of

Little Rock to inadequately train and supervise its police officers, specifically including Defendant

Colclough, thereby failing to adequately discourage further constitutional violations on the part of

its police officers.” The Eighth Circuit has repeatedly held that a municipality cannot be liable for

inadequate training (or supervision) when the officer involved did not violate a plaintiff’s

constitutional rights. See Veneklase v. City of Fargo, 248 F.3d 738, 748 (8th Cir. 2001); Olinger

v. Larson, 134 F.3d 1362, 1367 (8th Cir. 2000), and Brodnicki v. City of Omaha, 75 F.3d 1261,

1266 (8th Cir. 1996). City Defendants maintain that Officer Colclough did not violate Kenneth



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    See Ex.C pg. 19, ln. 11-13; pg. 30 ln. 15-20.
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and Kalob Franke’s constitutional rights as set forth earlier in this brief, and therefore Plaintiff

cannot hold the City liable for allegedly failing to supervise and train its officers.

        Plaintiff cannot establish a failure to train claim. A city will be liable “only where a city’s

inaction reflects a deliberate indifference to the constitutional rights of the citizenry, such that

inadequate training or supervision actually represents the city’s ‘policy.’ ” Szabla v. City of

Brooklyn Park, Minn., 486 F.3d 385, 392 (8th Cir. 2007). The undisputed material facts in this

case show that the City has not shown a deliberate indifference to the constitutional rights of its

citizenry. The facts establish that the LRPD emphasizes G.O. 302 and pursuit practice in the

academy, and in the field with FTO’s. Further the undisputed material facts show that the LRPD

further trained Officer Colclough after the pursuit that is the subject of this case. (See SUMF’s 2,

6, 7, 12, 13, 16, 17, 26, and 29).

        With respect to training, a municipality may be liable for deficient policies regarding

training police officers where: (1) the city’s training practices are inadequate; (2) the city was

deliberately indifferent to the rights of others in adopting them, such that the failure to train reflects

a deliberate or conscious choice by a municipality; and (3) an alleged deficiency in the city’s hiring

or training procedures actually caused the plaintiff’s injury. Andrews v. Fowler, 98 F.3d 1069,

1076 (8th Cir. 1996). It is necessary to show “that in light of the duties assigned to specific officers

or employees the need for more or different training is so obvious, and the inadequacy so likely to

result in a violation of constitutional rights, that the policy makers of the city can reasonably be

said to have been deliberately indifferent to the need.” City of Canton v. Harris, 489 U.S. 378, 390

(1989). Deliberate indifference is a “stringent standard of fault, requiring proof that a municipal

actor disregarded a known or obvious consequence of his action.” Board of Commissioners of

Bryan County v. Brown, 520 U.S. 397, 410 (1997).

        In City of Canton, the Supreme Court noted that an inadequate training claim could be the

basis for § 1983 liability in limited circumstances. 489 U.S. at 387. However, the Court indicated
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that it was referring to a deficient program “necessarily intended to apply over time to multiple

employees.” Canton, 489 U.S. at 390. The Court elaborated on this standard in Brown:

       If a program does not prevent constitutional violations, municipal decision makers
       may eventually be put on notice that a new program is called for. Their continued
       adherence to an approach that they know or should know has failed to prevent
       tortuous conduct by employers may establish the conscious disregard for the
       consequences of their action - the ‘deliberate indifference’ - necessary to trigger
       municipal liability. . . (internal citations omitted). 520 U.S. at 407.
The adequacy of law enforcement training policies has been examined in several cases. See

Andrews v. Fowler, 98 F.3d at 1077 (training procedures for the department consisted of

approximately two (2) weeks of on the job training with another officer followed by attendance at

a police academy within one (1) year of the date of employment. Those who did not pass the

academy training were not retained. The court found no reason to conclude that this training was

constitutionally deficient); Liebe v. Norton, 157 F.3d 574 (8th Cir. 1998) (training provided the

jailer consisted of on-the-job training for two and one-half (2 1/2) weeks by another jailer. He was

also scheduled to attend a jailer training course, but the course was not scheduled to be held for

another month. He had also begun a Jail Officers Training Correspondence Course. He had

previously received CPR training and was recertified twice as a reserve officer. There was also

evidence the jailer had been given a copy of the county’s manual of policies, procedures and

operations to read. The court refused to find the county liable on these facts); Smith v. Watkins,

159 F.3d 1137 (8th Cir. 1998) (the officer attended eight (8) weeks of police training classes while

serving as an auxiliary officer in Detroit, Michigan, completed the Arkansas Law Enforcement

Training Academy and received more than one hundred (100) hours of police training while

serving as an auxiliary officer for the state of Arkansas. The Court found there was no basis for

concluding that he was inadequately trained).

       In Parrish v. Ball, 594 F.3d 993 (8th Cir. 2010), Hot Spring County, Arkansas was sued

on the ground that the County failed to train a deputy sheriff who sexually assaulted the plaintiff

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in that case. Although the deputy operated as a law enforcement officer, he received little to no

training on how to properly serve in that capacity. The only training he received was one to two

days of riding with the deputy whose job he was hired to fill. In addition, although the deputy was

given a policy manual, he was not required to read it, and, in fact, he never actually read it. He was

scheduled to attend the Law Enforcement Training Academy, but had not done so at the time of

the incident upon which the lawsuit was based. In spite of the limited training, the Hot Spring

County Sheriff permitted the deputy to work despite being almost completely unsupervised. The

Eighth Circuit dismissed the failure to train claim and stated that even though the deputy should

have been more properly trained on the “contents of the law,” his intentional sexual assault of the

plaintiff was too remote a consequence of such a failure to meet the rigorous causation standard

necessary to hold the County liable.

        The training found to be adequate in the cases cited above pales in comparison to the

training received by Officer Colclough. She attended the LRPD Training Academy after she was

hired, completing 20 weeks of training for a total of 800 hours. At the time, the State of Arkansas

Commission on Law Enforcement Standards and Training required only 480 hours of training in

order for an officer to be certified as a law enforcement officer.

        The Training Academy is a state-certified school which provides instruction in various

areas of law enforcement including, but not limited to, use of force, use of deadly force, the LRPD

Rules, Regulations and General Orders, civil liability law, constitutional law, probable cause and

the laws of arrest, search and seizure, domestic violence, aerosol defensive spray, building

searches, handling abnormal or mentally ill persons, the Arkansas Criminal Code, cultural

diversity, report writing, use of the side handle baton, juvenile laws and procedures, firearms

training.

        The training program followed by the City and the LRPD greatly exceeds the minimum

standards required by the State of Arkansas. The LRPD course of training is also far more
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extensive than police training programs previously found to be acceptable by the Eight Circuit

Court of Appeals. Plaintiff has completely failed in meeting the burden of proof for a failure to

train.

         iv.    Mayor Scott

         Mayor Scott is entitled to a judgement as a matter of law in his individual and official

capacity because Franke has failed show that he took any action that violated Kenneth and Kalob’s

constitutional rights. She cannot show that G.O. 302 is an unconstitutional policy, or a pattern and

practice of unconstitutional misconduct by LRPD officers. Even if Franke could establish those

elements she has failed to show that Mayor Scott in his individual or official capacity was

deliberately indifferent toward them. Mayor Scott is entitled to a judgement as a matter of law.

         D.     State Law Claims

         i.     ACRA

         For all the reasons stated above in this brief the City Defendants are entitled to a judgement

as a matter of law on Franke’s ACRA claims. Specifically, the LRPD Defendants are entitled to

qualified immunity, and Franke cannot establish a constitutional violation out of an automobile

accident that did not involve a state actor.

         ii.    Negligence/Outrage

         Counts three and four of the Complaint fail because Officer Colclough is entitled to

qualified immunity as briefed above. Further, Franke claims that the City is liable under the

doctrine of respondeat superior. Yet, long-standing Supreme Court precedent has held that, “… a

municipality cannot be held liable solely because it employs a tortfeasor—or, in other words, a

municipality cannot be held liable under § 1983 on a respondeat superior theory.” Monell v. Dep't

of Soc. Servs. of City of New York, 436 U.S. 658, 691, (1978). Further, A.C.A. 21-9-301 holds the




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City Defendants, including Chief Humphrey and Officer Colclough, immune from Tort, “except

to the extent that they may be covered by liability insurance 8.

        E.       Conclusion

        What happened to Kenneth and Kalob Franke was tragic, but it was not the fault of officer

Colclough, Chief Humphrey, Mayor Scott or the City of Little Rock. It was the fault of Mr.

Dockery. This horrific vehicular accident did not yield a Fourteenth Amendment violation, it

yielded a tort. The County of Sacramento court delineated between constitutional violations and

tortious conduct saying, “we explained that the Fourteenth Amendment is not a “font of tort law

to be superimposed upon whatever systems may already be administered by the States,” and

in Daniels v. Williams, 474 U.S., at 332, 106 S.Ct., at 665, we reaffirmed the point that “[o]ur

Constitution deals with the large concerns of the governors and the governed, but it does not

purport to supplant traditional tort law in laying down rules of conduct to regulate liability for

injuries that attend living together in society.” Cty. of Sacramento v. Lewis, 523 U.S. 833, 848

(1998). Separate Defendants respectfully submit that there are no genuine issues with respect to

any material facts and that each of Plaintiff’s claims against them should be dismissed pursuant to

Fed. R. Civ. P. 56.

                                                              Respectfully submitted,
                                                              Thomas M. Carpenter
                                                              City Attorney

                                                              Alexander J. Betton #2009275
                                                              Attorney for Defendant
                                                              Office of the City Attorney
                                                              500 West Markham, Suite 310
                                                              Little Rock, Arkansas 72201\
                                                              (501) 371-4527
                                                              abetton@littlerock.gov




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  The City of Little Rock participates in the Arkansas Municipal Leagues Vehicle Program and the limit on its policy
is $25,000. Program Details – Arkansas Municipal League (arml.org)
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